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 7
 8                   IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   1:10-CR-00500-AWI
                                             )
12                        Plaintiff,         )   PRELIMINARY ORDER OF FORFEITURE
                                             )
13         v.                                )
                                             )
14   PAUL ANTHONY VASQUEZ,                   )
                                             )
15                                           )
                          Defendant.         )
16                                           )
                                             )
17
18        Based upon the plea agreement entered into between plaintiff United
19   States of America and defendant Paul Anthony Vasquez, it is hereby
20   ORDERED, ADJUDGED AND DECREED as follows:
21        1.    Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28
22   U.S.C. § 2461(c), defendant Paul Anthony Vasquez’ interest in the
23   following property shall be condemned and forfeited to the United States
24   of America, to be disposed of according to law:
25              1.     Approximately $395,465.00 in U.S. currency,
                       seized from 20325 Aurora Lane, Santa Clarita,
26                     California 91351,
27              2.     Approximately $300,000.00 in U.S. Currency,
                       seized from Unit D472 at Public Storage
28                     located at 8200 Balboa Blvd., Van Nuys,
                       California, held in the name of Paul Anthony
                       Vasquez,

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 1             3.    Approximately $210,000.00 in U.S. Currency
                     seized from Unit G068 at Public Storage
 2                   located at 7660 Balboa Blvd., Van Nuys,
                     California, held in the name of Paul Anthony
 3                   Vasquez,
 4             4.    2010 Chevrolet Camaro 2SS Vehicle, bearing
                     California License plate 6MBX150, vehicle
 5                   identification number 2G1FK1EJXA9191082,
 6             5.    2007 Cadillac CTS Vehicle, bearing California
                     License plate 6JOB464, vehicle identification
 7                   number 1G6DP577670106916,
 8             6.    2005 Chrysler 300 Vehicle, bearing California
                     License plate 5HK9529, vehicle identification
 9                   number 2C3JA63H95H121834,
10             7.    Ladies diamond ring, size 7.5, 1.5 carat, SKU
                     number 175864471169550,
11
               8.    JP Morgan Chase Bank Account, Account
12                   number892922279,for $13,778.18,
13             9.    JP Morgan Chase Bank Account, Account number
                     892922261,for $176.54, and
14
15             10.   All funds maintained in Bank of America, Bank
                     Account Number 09068-66120, up to and
16                   including the sum of $33,630.39
17        2.   The above-listed assets constitute property, real or
18   personal, that are proceeds of, and traceable to violations of 18
19   U.S.C. § 1349 incorporating 18 U.S.C. § 1956.
20        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
21   designee) shall be authorized to seize the above-listed properties.
22   The aforementioned properties shall be seized and held by the
23   Department of the Treasury, Internal Revenue Service, in its secure
24   custody and control.
25        4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
26   § 853(n), and Local Rule 171, the United States shall publish notice of
27   the order of forfeiture.       Notice of this Order and notice of the
28   Attorney General’s (or a designee’s) intent to dispose of the property
     in such manner as the Attorney General may direct shall be posted for

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 1   at least 30 consecutive days on the official internet government
 2   forfeiture site www.forfeiture.gov.      The United States may also, to the
 3   extent practicable, provide direct written notice to any person known
 4   to have an alleged interest in the property that is the subject of the
 5   order of forfeiture as a substitute for published notice as to those
 6   persons so notified.
 7             b.   This notice shall state that any person, other than the
 8   defendant, asserting a legal interest in the above-listed property, must
 9   file a petition with the Court within sixty (60) days from the first day
10   of publication of the Notice of Forfeiture posted on the official
11   government forfeiture site, or within thirty (30) days from receipt of
12   direct written notice, whichever is earlier.
13        5.   If a petition is timely filed, upon adjudication of all
14   third-party interests, if any, this Court will enter a Final Order
15   of Forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28
16   U.S.C. § 2461(c), in which all interest will be addressed.
17   IT IS SO ORDERED.
18
     Dated:      March 6, 2012
19   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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                                         3                 PRELIMINARY ORDER OF FORFEITURE
